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1                         UNITED STATES DISTRICT COURT
2                            DISTRICT OF PUERTO RICO

3    UNITED STATES OF AMERICA,
4
5          Plaintiff,
                                               Criminal No. 05-354 (JAF)
6            v.

 7   HECTOR RENE LUGO-RIOS (01);
 8   ELBA GARCIA-PASTRANA (03);
 9   FELIPE ROMAN-LOZADA (04);
10   JESUS CARABALLO-ORTIZ (05);
11   LUIS ANDINO-DELBREY (06);
12   FRANCISCO MARTINEZ-IRIZARRY
13   (07);
14   JUAN RAMOS-HERNANDEZ (08);
15   ENRIQUE VAZQUEZ-PRESTAMO (09);
16   JORGE L. URBINA-ACEVEDO (10);
17   JUAN ROLDAN-VEGA (11),

18         Defendants.

19

20                                OPINION AND ORDER

21         Before this court are motions from Elba L. García-Pastrana, Juan

22   Ramos-Hernández,     and      Juan    Roldán-Vega          under    18    U.S.C.

23   § 3143(a)(1)(2000 & Supp. 2006) for reconsideration of revocation of

24   bail.    Docket Document Nos. 441, 445, 455.        Defendants request that

25   bail be reinstated so that they may be released pending sentencing.

26   Id.

27         García, Ramos, and Roldán were indicted, along with seven other

28   co-defendants who do not currently have post-conviction, bail-related

29   motions pending before this court, on October 19, 2005, for violating

30   18 U.S.C. §§ 2, 371, 669, 982(a)(1), 982(a)(7), and 1956(h). Docket
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1    Document No. 2.    On October 20, 2005, this court originally granted

2    bail to García, Ramos, and Roldán according to 18 U.S.C. § 3142(c) in

3    the amount of $200,000; $50,000; and $50,000, respectively.                  Docket

4    Document Nos. 33, 43, 49.       On June 16, 2006, a jury found García,

5    Ramos, Roldán, and their seven co-defendants guilty of those charges,

6    and   the   undersigned    revoked   bail     and   ordered     their      immediate

7    incarceration.    Docket Document No. 437.

8          García, Ramos, and Roldán now move this court to reinstate their

9    bail and allow them to go free pending their sentencing, which has

10   been scheduled to take place September 22, 2006.                Docket Document

11   Nos. 439, 441, 445, 455.         The government filed an opposition to

12   Defendants' motions on June 23, 2006.           Docket Document No. 453.

13         A convicted defendant has no constitutional right to bail and,

14   in fact, the Bail Reform Act of 1984 establishes a presumption in

15   favor of detaining convicted defendants pending sentencing.                  United

16   States v. Cátala Fonfrías, 612 F. Supp. 999, 1000 (D.P.R. 1985).                  A

17   provision introduced by that very same Act, however, provides an

18   exception to that general rule, whereby a convicted defendant can

19   overcome the detention presumption and pursue release pending his or

20   her sentencing.    Id.    It is that statutory provision at issue today.

21   Codified at 18 U.S.C. § 3143(a)(1), the law states that a person who

22   has been found guilty of an offense and who is awaiting imposition of

23   sentence shall be detained, "unless the court finds by clear and

24   convincing evidence that the person is not likely to flee or pose a
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1    danger to the safety of any other person or the community if released

2    on bond pursuant to . . . § 3143(c)."                       Convicted defendants who

3    desire to secure their release from prison pending sentencing bear

4    the burden of proof.           Cátala Fonfrías, 612 F.Supp. At 1000 (citing

5    Report of the Committee on the Judiciary, United States Senate, 98th

6    Congress, 1st Session, Report No. 98-225, p. 27, U.S. Code Cong. &

7    Admin. News 1984).

8           We begin by noting that the detention presumption established by

9    the Bail Reform Act of 1984 was partly motivated by the widely held

10   belief that the detention of a criminal defendant immediately after

11   his or her conviction reinforces the deterrent effect of the criminal

12   law by ensuring that the public sees and understands that criminal

13   activity       bears    consequences.         Id.     By     contrast,         allowing     a

14   freshly-convicted defendant to stride out of the courtroom and rejoin

15   his or her peers, albeit for a limited time, greatly dilutes this

16   message.       Id.     Precisely this reason was advanced by the court at

17   the time we refused to grant bail upon conviction.

18          García    pleads    that   she    needs      time     to    undergo      psychiatric

19   treatment in order to prepare herself for prison, and Roldán pleads

20   that he needs time to get his finances in order.                          Docket Document

21   Nos.    445,    455.      These      concerns,      which     every       person     awaiting

22   incarceration quite obviously shares, are beside the point. We limit

23   our    consideration      of   the    present       motions       to   what    the   statute

24   requires, which is whether Defendants have met their burden to
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1    present the court with clear and convincing evidence that they are

2    not likely to flee or pose a danger to the safety of any other person

3    or the community.         18 U.S.C. § 3143(a)(1).          We find that they have

4    not met that burden.

5           Defendants rather cursorily submit that they do not pose any

6    danger to the safety of any person or the community.                 While we agree

7    that Defendants certainly do not appear to pose any physical danger

8    to members of the community, we must also weigh whether Defendants

9    pose a pecuniary threat to the community, and to pecuniary interests

10   of the Union they embezzled funds from.               United States v. Masters,

11   730 F.Supp. 686, 689 (W.D.N.C. 1990)(finding the defendant, who had

12   continued to participate in legally questionable investment schemes

13   throughout his trial, to be a pecuniary danger to the community

14   because the court believed that defendant was "an unrepentant con

15   artist who will continue to prey on any person gullible enough to

16   listen to his sales talk"); United States v. Moss, 522 F.Supp. 1033,

17   1035 (E.D.Pa. 1981). Given that Defendants have been convicted for

18   embezzlement, money laundering, and more, Docket Document No. 438, we

19   worry that they would, in fact, pose a continuing pecuniary threat to

20   the    community     if    they    were   released     pending    sentencing.     The

21   Defendants are quite influential in the Union where they served and

22   it    is   evident   that    all   convicted     Defendants      still   retain   the

23   connections to create pecuniary danger to the Union and the Union

24   finances.
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1         We refer to United States v. Provenzano, 605 F.2d 85 (3rd Cir.

2    1979), for guidance.        That case involved a defendant requesting to

3    be released on bail pending appeal after he had been found guilty of

4    corruptly using his position of influence in a labor union for his

5    own pecuniary gain.       Id.    The Provenzano district court denied the

6    bail petition, pointing to the fact that the defendant’s brothers and

7    daughter still held executive union posts as evidence that the

8    defendant had enough influence and opportunity at the union to pose

9    a pecuniary risk to the community were he released.                      Id.    The Third

10   Circuit affirmed the district court’s ruling.                 Id.

11        Provenzano’s    factual      parallels    to    the      present      case,    where

12   Defendants embezzled money from a union health care fund they were

13   responsible for managing, and where one of the co-defendants remains

14   employed as the union’s secretary general, are obvious.                        Just as the

15   Third Circuit worried that the Provenzano defendant, if released,

16   would take advantage of his family’s continuing control of the union

17   to commit further abuses, so too do we fear that Defendants, if

18   released, would take improper, perhaps criminal, advantage of their

19   existing Union connections.            Defendants’ connections with Union

20   insiders are likely numerous, however, given that each of them has

21   been involved with the organization in managerial and trust positions

22   for many years.

23        Defendants’    flight      risk   is   also    at   issue      in    this    motion.

24   Defendants argue that they are a low flight risk because they have
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1    lived in Puerto Rico all their lives, and have extensive familial

2    networks here.         Docket Document Nos. 441, 445, 455.                Roldán points

3    out that he does not have a passport.                   Docket Document No. 445.

4    García and Ramos state that even though they have passports, they

5    have been surrendered.           Docket Document Nos. 441, 455.                Roldán and

6    Ramos    argue    that       their   anticipated     sentences     are    so    modest   –

7    estimated by them to be somewhere between 30 and 54 months – it would

8    not make sense for them to flee.                Docket Document Nos. 441, 445.

9    According to Roldán and Ramos, the sixty-month maximum penalty for a

10   violation of 18 U.S.C. § 1073, the statute criminalizing flight, has

11   the potential to double their sentence and no reasonable person would

12   run that risk.         Id.

13        The        government      does     not   take    issue       with     Defendants'

14   pronouncements about their extremely strong ties to Puerto Rico, but

15   does disagree with the brevity of the sentences that Roldán and Ramos

16   are predicting they will receive. Docket Document No. 453. The

17   government's current view is that Defendants actually face 292 to 365

18   months     of    imprisonment,       a   far   cry    from   Roldán's       and   Ramos'

19   expectation that their sentences will land somewhere between 33 and

20   54 months.       Id.   The government's belief that Defendants' jail terms

21   will be so long gives rise to its related concern that Defendants,

22   fearful at the prospect, are a heightened flight risk.                          Id.   The

23   government directs us to United States v. Castiello, 878 F.2d 554

24   (1st Cir. 1989), in support of its argument.                 Id.
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1          In Castiello, the First Circuit affirmed a district court's

2    decision that a convicted non-citizen defendant facing 97 to 121

3    months    under    sentencing   guidelines       failed   to   make   a      clear   and

4    convincing showing under § 3143(a) that he was an unlikely flight

5    risk.    The district court based its decision on the sizable length of

6    the defendant's likely sentence, his lack of citizenship, and its

7    belief that the defendant's conviction would hold up on appeal.

8          One obvious and important difference between Castiello and the

9    present case is that Defendants are all U.S. citizens, and not

10   foreign nationals.       See also United States v. Parr, 399 F.Supp. 883,

11   888 (W.D.Tex. 1975)(defendant not released on bail pending appeal

12   when, inter alia, he was a Mexican national by birth and there was,

13   therefore, a risk that he would not be extradited from Mexico in case

14   of flight).       Other Castiello flight risk factors, by contrast, are

15   echoed in the present facts.         Even though the parties have wildly

16   divergent views on how much jail time the convicted Defendants face,

17   for example, we think it is clear that whoever is right, Defendants

18   do face a lengthy sentence.          We furthermore believe, as did the

19   Castiello district court, that Defendants' convictions will hold up

20   on   appeal.       To   these   flight    risk    factors      we   add   one    more:

21   Defendants' embezzlement of health care funds is a crime whose

22   substantial proceeds have heightened their flight risk by improving

23   their financial capacity to forfeit bond and/or create a new life

24   outside of the United States.            United States v. Londono-Villa, 898
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1    F.2d 328, 329-30 (2nd Cir. 1990)(reversing district court's finding

2    that defendant did not pose a flight risk when the sum of money

3    involved in his crime dwarfed the $1 Million bond).

4         Defendants argue that their compliance with bail terms all

5    throughout trial evidences that they will continue to comply with bail

6    terms as they await sentencing.      Docket Document Nos. 441, 445, 455.

7    We are not convinced, however, that a defendant’s compliance with bail

8    terms at trial, when he or she remains hopeful for an acquittal, is

9    a solid predictor of what he or she will do if let out on bail post-

10   conviction, when incarceration is assured.         Compare United States v.

11   Lavandier, 14 F. Supp. 2d 169, 174 (D.P.R. 1998)(doubting that trial-

12   stage compliance with bail terms means that post-conviction bail-term

13   compliance is likely), with Harris v. United States, 404 U.S. 1232,

14   1236 (1971)(J. Douglas, in chambers)(granting defendant's application

15   for bail pending appeal when, inter alia, he had never failed to make

16   a required court appearance while previously out on bail).

17        Finding Defendants’ arguments against flight risk rather weak in

18   light of the factors weighing in favor of flight risk, we do not feel

19   in the end that there is clear and convincing proof that Defendants

20   will present themselves in court on September 22, 2006, as the law

21   requires them to do, should we release them to the general population.

22        In accordance with the foregoing, we find that Defendants have

23   not presented clear and convincing evidence showing that they would

24   not pose a pecuniary danger to the community or the Union they served
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1   if they were released on bail pending sentencing, and that they are

2   not a flight risk, and so we DENY Defendants’ motion to reinstate

3   bail.

4        IT IS SO ORDERED.

5        San Juan, Puerto Rico, this 19th day of July, 2006.

6                                             S/José Antonio Fusté
7                                              JOSE ANTONIO FUSTE
8                                             U. S. District Judge
